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The documents suggest that Pfizer’s marketers
influenced Neurontin's scientific record to boost
sales at least until 2003 by delaying the
publication or altering the conclusions of studies
that had found no evidence the drug worked for
various conditions besides epilepsy.

Pfizer, the world's biggest drugmaker, denied the

charges. “Pfizer is committed to the

communication of medically or scientifically significant results of alt
studies, regardless of outcome," a company spokesman said in a
statement.

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The case is the latest Ina a string of allegations against t the
pharmaceutical industry suggesting It has controlled the Flow of clinical
trial research to boost its marketing position.

The documents, including reports by experts who reviewed thousands of
company documents for plaintiffs, were submitted to the U.S. District
Court in Boston and were made available on its website.

Neurontin was a blockbuster product for Pfizer until 2004, when generic
versions of the medicine hit the market. Sales totaled $2.7 billion in
2003.

Pfizer agreed in 2004 to pay $430 million and Plead guilty to criminal
charges for Hlegaily marketing Neurontin for unapproved uses such as
migraines and pain.

The controversy over clinical studies surrounding the treatment echo
other recent cases in the drugs industry.

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